            Case 1:23-cv-09071-TAM Document 6 Filed 12/13/23 Page 1 of 4 PageID #: 45

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                  DISH NETWORK L.L.C.,                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:23-cv-09071 TAM
                                                                     )
 MASSIVE WIRELESS, INC., KHALED AKHTAR,                              )
RAYS IPTV LLC, MUMTAZUR REHMAN DAUD, and                             )
           DOES 1-10, d/b/a Glo TV
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Massive Wireless, Inc., 37-51 73rd Street, Jackson Heights, New York 11372




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Adam Rich
                                           David Wright Tremaine LLP
                                           1251 Avenue of the Americas, 21st Floor
                                           New York, NY 10020



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT

              12/13/2023                                                        s/Kimberly Davis
Date:
                                                                                          Signature of Clerk or Deputy Clerk
            Case 1:23-cv-09071-TAM Document 6 Filed 12/13/23 Page 2 of 4 PageID #: 46

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                  DISH NETWORK L.L.C.,                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 23-cv-9071 TAM
                                                                     )
 MASSIVE WIRELESS, INC., KHALED AKHTAR,                              )
RAYS IPTV LLC, MUMTAZUR REHMAN DAUD, and                             )
           DOES 1-10, d/b/a Glo TV
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Khaled Akhtar, 16439 108th Drive, Jamaica, New York 11433




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Adam Rich
                                           David Wright Tremaine LLP
                                           1251 Avenue of the Americas, 21st Floor
                                           New York, NY 10020



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    12/13/2023                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
            Case 1:23-cv-09071-TAM Document 6 Filed 12/13/23 Page 3 of 4 PageID #: 47

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                  DISH NETWORK L.L.C.,                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 23-cv-9071 TAM
                                                                     )
 MASSIVE WIRELESS, INC., KHALED AKHTAR,                              )
RAYS IPTV LLC, MUMTAZUR REHMAN DAUD, and                             )
           DOES 1-10, d/b/a Glo TV
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Rays IPTV LLC, 4688 Rio Verde Drive, Ramona, California 92065




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Adam Rich
                                           David Wright Tremaine LLP
                                           1251 Avenue of the Americas, 21st Floor
                                           New York, NY 10020



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    12/13/2023                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
            Case 1:23-cv-09071-TAM Document 6 Filed 12/13/23 Page 4 of 4 PageID #: 48

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                  DISH NETWORK L.L.C.,                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 23-cv-9071 TAM
                                                                     )
 MASSIVE WIRELESS, INC., KHALED AKHTAR,                              )
RAYS IPTV LLC, MUMTAZUR REHMAN DAUD, and                             )
           DOES 1-10, d/b/a Glo TV
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mumtazur Rehman Daud, 24688 Rio Verde Drive, Ramona, California 92065




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Adam Rich
                                           David Wright Tremaine LLP
                                           1251 Avenue of the Americas, 21st Floor
                                           New York, NY 10020



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    12/13/2023                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
